     Case 2:21-cv-07505-MCS-JEM Document 41 Filed 03/08/22 Page 1 of 3 Page ID #:293



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12
                               UNITED STATES DISTRICT COURT
13
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                Case No. 2:21-cv-07505-MCS(JEMx)
16
                 Plaintiff,                    STIPULATION AND REQUEST FOR ORDER
17                                             DISMISSING ACTION; [PROPOSED]
                       v.                      ORDER THEREON LODGED UNDER
18                                             SEPARATE COVER
      $340,000.00 IN U.S. CURRENCY
19    AND MISCELLANEOUS PRECIOUS
      ITEMS,
20
                 Defendants.
21

22    MAREK RUDAK,
23               Claimant.
24

25          Plaintiff United States of America (the “Government”) and
26    Claimant Marek Rudak (“Claimant”) stipulate and request that the
27    Court dismiss this action with prejudice pursuant to Federal Rule of
28    Civil Procedure 41 and enter the [Proposed] Order lodged herewith.
     Case 2:21-cv-07505-MCS-JEM Document 41 Filed 03/08/22 Page 2 of 3 Page ID #:294



1           In addition to the dismissal with prejudice, the requested

2     [Proposed] Order provides that the Government shall return to

3     Claimant, the defendants in this action, $340,000.00 in U.S. Currency

4     (“Currency”) and Miscellaneous Precious Items (“Precious Items”),

5     along with any other contents of box number 5409 (collectively

6     “Defendants and the Other Property”) seized by law enforcement

7     officers on or about March 22, 2021, from box number 5409 at U.S.

8     Private Vaults, which is located at 9182 Olympic Boulevard, Beverly

9     Hills, California.

10          The Government shall wire to Claimant’s Counsel the Currency

11    pursuant to wire instructions to be provided by Claimant’s counsel

12    and containing the information the Government needs to complete the

13    wire and the Government shall make the Precious Items and any other

14    contents of box number 5409 available for pickup by Claimant and/or

15    Claimant’s Counsel and will notify Claimant’s Counsel of proposed

16    dates, times and location the Precious Items and any other contents

17    of box 5409 will be made available for pick up.

18          The Government is required to return Defendants and the Other
19    Property to Claimant by no later than 75 days of the date of this

20    Order, but the Government shall exercise its best reasonable efforts

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     Case 2:21-cv-07505-MCS-JEM Document 41 Filed 03/08/22 Page 3 of 3 Page ID #:295



1     to return the Defendants to Claimant within 50 days of the date of

2     this order.

3                                        Respectfully submitted,

4     Dated: March 8, 2022               TRACY L. WILKISON
                                         United States Attorney
5                                        SCOTT M. GARRINGER
                                         Assistant United states Attorney
6                                        Chief, Criminal Division
                                         JONATHAN GALATZAN
7                                        Assistant United States Attorney
                                         Chief, Asset Forfeiture Section
8

9                                        _      /s/                      ___
                                         VICTOR A. RODGERS
10                                       MAXWELL COLL
                                         Assistant United States Attorneys
11                                       Asset Forfeiture Section

12                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
13

14    Dated: March 8, 2022               MUNCK WILSON MANDALA, LLP

15
                                         _       /s/                       _
16                                       Yael Tobi
                                         Attorneys for Claimant
17                                       MAREK RUDAK

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